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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               STATESBORO DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )      CASE NO.: 6:20CR0001
                                               )
RYAN ANTWAIN HARRIS,                           )
                                               )
               Defendant.                      )

                       ORDER ON MOTION FOR LEAVE OF ABSENCE

       Before the Court is the Motion for Leave of Absence requested by Matthew K. Hube,

Attorney for the Defendant for May 15, 2020. The motion is GRANTED. Matthew K. Hube

shall be relieved from attending any hearing or trial on these dates but must make arrangements

for substitute counsel in the event the case is scheduled for a hearing or trial during such leave.



Date: -DQXDU\, 2020.



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                                                      SOUTHERN DISTRICT OF GEORGIA
